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Trevor Reid
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Plaintiff, pro se

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF ARIZONA

Trevor Reid,                                    | Case No. CV-22-00068-PHX-SMB
                                                |
Crystale Reason                                 |
                                                |
                Plaintiffs                      |
                                                |
v.                                              |
                                                |
U.S. Department of the Interior, et al          |
                                                |
               Defendants                       | APPLICATION FOR CLERK’S
                                                | ENTRY OF DEFAULT



         Plaintiff Trevor Reid applies for entry of default pursuant to Fed. R. Civ. P.

Rule 55(a) as to the defendants U.S. Department of the Interior and National Park

Service.

         The foregoing defendants are corporations or agencies of the United States

subject to service per Rule 4(i). Such service was completed by certified mail on

April 19th, 2022, with service on the U.S. Attorney for Arizona occurring eleven

(11) days earlier, on April 8th, 2022 (ECF Docs. 9, 15). Rule 12(a)(2) provides

U.S. agency defendants “must serve an answer to a complaint, counterclaim, or

crossclaim within 60 days after service on the United States attorney.” Ninety (90)

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days have passed since the U.S. Attorney was served. Neither of the foregoing

agency defendants has served a responsive pleading or motion1.

        Accordingly, entry of default is requested.

        Respectfully submitted this 7th day of July, 2022

                                                   s/ Trevor reid, plaintiff pro se




1
  Sixty-three (63) days after the U.S. Attorney was served, substituted Defendant
the United States of America did file, for itself, a motion (ECF Doc. 17) which if
granted in full would extend the responsive pleading deadlines for these
defendants. At the time of this filing, however, that motion remains pending and
no extension has been granted.

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                        CERTIFICATE OF SERVICE

      I certify that on July 7th, 2022 in addition to filing the foregoing document

via CM/ECF I provided a copy to each of the following parties:

      United States of America
      United States Department of the Interior
      National Park Service

      U.S. Attorney for Arizona, Asst U.S. Attorney Noel C. Capps
            via CM/ECF email



      (adt’l service)
      United States Department of the Interior
      National Park Service:

      1849 C STREET, N.W.
      WASHINGTON, DC 20240


      Justin P. Doyle
      David Ballam
      Cynthia Sirk-Fear:

      18100 Park Headquarters Road
      Triangle, VA 22172


                                                              s/Trevor Reid




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